Case 5:16-cv-00600-JGB-SP Document 393-3 Filed 03/01/21 Page 1 of 4 Page ID #:7057




                             EXHIBIT C
Case 5:16-cv-00600-JGB-SP Document 393-3 Filed 03/01/21 Page 2 of 4 Page ID #:7058
S FCC Red No. 2                  Federal Communications Commission Record                                                 FCC 90-29


                                                                       Ft. Myers settlement agreement prohibiting peuuons to
                       Before the                                      deny void as against public policy. Kile and Palmer have
           Federal Communications Commission                           filed oppositions. P&T has filed a reply. 2
                 Washington, D.C. 20554

                                                                                    II. FINANCIAL QUALIFICATION
  In re Application of
                                                                          A . Contentions of the Parties
  ROBERT L. KILE                   File No. 00376-CL-AL-87                3. P&T argues that the MSD misconstrued the financial
                                                                       requirements of Section 22.917 of the Rules. Section
  For consent to the assignment of                                     22.917(d) requires, P&T argues, the proposed assignee also
  the license for Station KNKA598                                      to submit information required under the guidelines of
                                                                       Section 22.917(a) of the Rules, i.e., the estimated costs of
  operating in Domestic Public                                         construction or o peration, balance sheet, income state-
  Cellular Radio Telecommunications                                    ment, statement of projected revenues and expenses, and a
  Service in the Fort Myers,                                           statement of projected sources and application of funds.
  Florida Metropolitan Service                                         P&T further argues that because Pa lmer's bank letter does
  Area (MSA)                                                           not specify an interest rate. it does not contain a sufficient
                                                                       description of the terms of the loan as required by Section
                                                                       22.9 17(d) of the Rules.
         MEMORANDUM OPINION AND ORDER                                     4. Moreover, P&T argues, the MSD lacked a rational
                                                                       basis upon which to find Palmer financially qualified.
Adopted: January 18, 1990;       Released: January 25, 1990            Financial qualification must be demonstrated, P&T ar-
                                                                       gues. by a showing of sufficient net liquid assets or total
  By the Commission:                                                   assets 3--not by a showing that the applicant has a substan-
                                                                       tial financial cushion over the acqu isition cost. P&T as-
                                                                       serts that " any finding of financial qualifications must
                     I. BACKGROUND                                     compare a n applicant\ financial resources on the one
                                                                       hand. with its estimated capital and o perating expenses,
   I. In August 1987, Robert J. Kile (Kile) filed an ap-               on the other." Ap plicat ion at 4 (emphasis in original). In
plication to assign its cellular radio license for Domestic            the absence of information concerning Palmer's resources
Public Cellular Radio Telecommun ications Service                      and costs. P&T concludes that the MSD determination
(DPCRTS) Station KNKA598 to Palmer Communication,                      was in error.
Inc. (Palmer). 1 P&T Communications (P&T), an entity
holding a minority interest in that station license. . filed a            5. In opposition. Palmer states t hat Section 22.917(a) is
petition to dismiss or deny the assignment application. In             not applicable to applications fo r assignment o r t ransfer
its Petition to Deny. P&T argued that ( l l Palmer·s assign-           of co ntrol. Section 22.9 I 7(a). Palmer asserts. s pec ifically
ment application failed to present the financial showings              exempts these applications from its requirements.J Palmer
required by Section 22.9l7(d) of the Ru ies: (2) Kile's June           further asserts that the Ft. Myers assignment application
1986 amendment to its applicatio n, and its August 1987                fully complies with the rey uirements of Section 22.917(d).
assignment application contained inconsistent statements:              Palmer states that it is an experienced comm un ications
and (3) the Commission should void as against public                   provider whose fi nancial qua lificat ions are a matte r of
policy a settlement agreement provision prohibiting peti-              record before the Commission. In addition, Palmer con-
tions to deny by its signatories. On March 8, 1988, the                te nds that its loan commitment letter contains the in-
Mobile Services Division (MSD) denied P&T's Petition to                formation necessary to establish the availability of the
Deny and granted the application for assignment. Robert                funds to complete the assignment.
J. Kile , 3 FCC Red 1087 (Mob. Serv. Div. 1988) (Kile! . In               6. In its opposition. Kile states that P&T's interpretation
Kile, the MSD held that Palmer had demonstrated that it                of the requirements of Section 22.91 7(d) o f the Rules is
had the funds available to acquire the Fort Myers facility .           contrary 10 the plain language of the rule and prior case
The MSD stated t hat Palmer had submitted a financial                  law. Kile asserts that it is absurd to suggest that a pro-
commitment letter indicating that the Bank of New York                 posed assignee must include estimated costs of construc-
would lend Palmer a total amount substantially in excess               tion in an application for a system already constructed.
of the purchase price of the facility. Thus. the MSD found             The appropriate cost figure in the case of a constructed
that Palmer complied with the financial qualification re-              system. Kile contends. is the purchase price of the facility.
quirements of Section 22.917(d) of the Rules. In addition,              In WKBD , Inc., 2 FCC Red. 2488 (Mob. Serv. Div. 1988),
the MSD held that it would not void a provision of the                  Kile asserts that the MSD held that estimated operating
Fort Myers' settlement agreement which prohibits its sig-              costs also do not need to he provided when applying to
natories from filing petitions to denv. The MSD found                  tra nsfer an operating facility . In addition, Kile asserts that
that the issue raised ·by P&T is a ' private contractual               the Commission has held that a statement of the ap-
matter best resolved by negotiation or by the courts. On                plicable interest rate is not required in a ban k commit-
April 11, 1988, P&T filed an application for review of the              ment letter.
MSD's decision in Kile. Responsive pleadings were filed.                  7. In reply, P&T argues that the Commission·s cellular
   2. In its Application for Review. P&T argues that the               decisions clearly recognize that indication of the interest
MSD erred in finding Palmer fina nc ia lly qualified and                rate is a n essential term wh ich must be disclosed in a
that the MSD should have declared the provision o f the                financial commitme nt letter. and cites Cellular Commu-
                                                                       nications of Cincinnati. 53 Rad. Reg. 2d (P&F) 827 (Com.
                                                                       Car. Bur. 1983).

                                                                 513
Case 5:16-cv-00600-JGB-SP Document 393-3 Filed 03/01/21 Page 3 of 4 Page ID #:7059
FCC 90-29            Federal Communications Commission Record         5 FCC Red No. 2


  B. Discussion                                                           to deny against other, subsequently-filed, non-mutually
    8. Section 22.917(d) provides, in pertinent part, that an             exclusive applications, this provision should be declared
application for an assignment of license (or permit) or                   void as against public policy.
transfer of control of a cellular license (or permit) " ..
shall demonstrate the financial ability of the proposed                     B. Discussion
assignee or transferee to acquire and operate the facility                   11. We find it unnecessary to resolve the question of
by submitting adequate financial information under the                    whether Section 6.7 of the settlement agreement should
guidelines specified in this section, as appropriate (em-                 be declared void as against public policy. Generally, the
phasis added)." The Commission has previously stated                      Commission will not enforce or interpret settlement
that the requirement that the applicant demonstrate the                   agreements among cellular applicants. Guidelines for Set-
financial ability to operate the station for one year refers              1lemen1 and Changes in Ownership of Cellular Systems, 59
to unbuilt facilities. and not to operational facilities.5                Rad. Reg. 2d (P&F) 1450 (Com. Car. Bur. 1986). The
When an operational facility is sought to be transferred, a               validity of a settlement agreement is, as the MSD correctly
transferee need only demonstrate its ah11ity to finance the               stated. a private contractual matter best resolved by nego-
acquisition of the facility. Moreover. an applicant. not                  tiation of the parties or by the courts. In addition, we
relying on internal financing, may demonstrate its finan-                 note that P&T did in fact file a petition to deny against
cial ability by filing a financial commitment letter, and is              the assignment application and that the MSD considered
not required to file a balance sheet. 6 F inally, additional              the petition on its merits and denied it. 11 Moreover, we
information such as an income statement. statement of                     have reviewed the allegations raised by P&T in its applica-
projected revenues and expenses. statement of projected                   tion, and concur with t he findings of the MSD. In these
sources and application of funds is req uired 7 on ly when                circumstances, P&rs arguments on this point warrant no
the financia l showing submitted is insufficient.                         further consideration.
    9. The standard of financial ability applicable to an
assignment or transfer of license is one of reasonable
assurance that the funds will be available. CNCA A cquisi-                                 IV. ORDERING CLAUSE
tion Corporaiion, supra. Palmer has obtained a financial                    12. Accordingly. IT IS HEREBY ORDERED, that the
commitment letter from the Bank of New York which                         Applicatio n for Review fi led by P&T Communications IS
demonstrates a reasonable assurance that a loan of $10                    DENIED.
million is available to Palmer for acquiri ng the facility .
The letter provides. in pertinent part that. "This is to                    FEDERAL COMMUNICATIONS COMMISSION
confirm that the Bank of New York ("Bank") is willing to
lend P;,Jmer Communications Inco rporated ("Palmer"), a
total of $10 million subject to our m utual agreement on
normal terms and conditions." The le tter further states
that the term of years for t he loan wo uld not exceed ten
                                                                            Donna R. Searcy
years, and that amortization would began two years after
the loan was established. The bank letter sets forth the                    Secretary
sufficient terms of the loan to demonstrate that the lender
will make financing available, and thus. is in compliance
with the reasonable assurance standard.8 See generally                                                 FOOTNOTES
                                                                            1
American Lo - Power TV Network. Inc .. 103 r CC 2d 4, 10                       Kile's initial application [or a construction permit was grant-
( l 986). ln addition, Palmer's loan co mmitment will pro-                ed o n January 28, 1987. Robert J. Kile , 2 FCC Red 583 (Mob.
vide Palmer with funds for wo rking capital well in excess                Serv. Div. 1987).
of the $5,100,000 purchase price of the facility.Q Finally.                 2 P&T has also filed a Petition to Deny Palmer's application
as previously stated, the requirement that an applicant                   for a major modification of the Fon Myers system, and a
demonstrate its ability to operate the proposed station one               Motion to Consolidate that proceeding with this one. We do not
year after the transfer refers o nl y to unbu ilt facil ities and         find that consolidation of these proceedings to be in the public
not to operational facilities. The Fort Myers facility is                 interest. and therefore. deny P&T's request.
operational and therefore. it is unnecessary for Palmer to                  3 "Net liquid assets" represents the excess of current assets
demonstrate the financial ability to operate the system.                  readily converted to cash over current liabilities.
Accordingly we find that t he MSD properly applied the                      4
financial requirements of Section 22.9 I 7 of our rules. and                   In support of its assertion Palmer quotes the language of
                                                                          Section 22.917(a)(3) which provides. "Except as provided in
that Palmer is financially qualified to be the assignee of
Station KNKA598.                                                          paragraph (d) of this section. each application shall demonstrate
                                                                          an applicant's financial ability as set forth in paragraph (a)(l) of
                                                                          this section. the information required by paragraph (a)(3)(iii) of
      DI. SETTLEMENT AGREEMENT PROVISION                                  this section. and whatever o ther information the Commission
                                                                          may require .. .." Section 22.917(d) applies to assignment of
                                                                          licenses (or permits) and transfers of control of a corporation
  A. Contentions of the Parties                                           holding a license (or permit), See n. 5. infra.
   LO. P&T also argues that the MSD erred in not declar-                     s See ClVCA Acqui.si1io11 Corpo ration. 3 FCC Red 6088. 6094 at
ing Section 6. 7 of the Ft. Meyers settlement agreement                   n. 8 (1988). Such transfers generally do n0t raise questions with
void as against public policy. Sectio n 6.7 prohibits its                 regard 10 speculative and insincere applicants as does the trans-
signatories from filing petitions to deny against the ap-                 fer of a bare construction permit. For this reason. the proposed
plications of the members of the settlement group. 10 How-                transfer or a bare construction permit requires the proposed
ever, P&T argues. to the extent that this provision is                    transferee to demonstrate the financial ability to construct and
construed to prohibit the signatories from filing petitions


                                                                    514
Case 5:16-cv-00600-JGB-SP Document 393-3 Filed 03/01/21 Page 4 of 4 Page ID #:7060
S FCC Red No. 2      Federal Communications Commission Record              FCC 90-29


operate the system for one year. See McCaw Personal Commu-
nications, Inc., 60 Rad. Reg. 2d (P&F) 889, 895 (Com. Car. Bur.
1986).
   6 See Section 22.917(a)(3) of the Rules. A proposed assignee or
transferee intending to rely on internal financing to fund the
acquisition of the facility would be required to submit a balance
sheet.
   7 Section 22.917(a)(3)(ii) of the Rules.
   8 Contrary to P&T's arguments, Cellular Communications of

Cincinnati, Inc., supra, does not require that the commitment
letter state the interest rate with specificity. "[Elxact details
such as interest rates and payment terms are not absolutely
required .. . ." Id. at 830. See aLso Bluegrass Broadcasting Co .,
Inc.• 2 FCC Red 439 (Com. Car. Bur. 1987) ("It is not necessary
that the commitment letter specify the interest rate with speci-
ficity .. . ")
   9 Notwithstanding that the transferee of an operating system
need not show t he ability to operate the system. $10 million
appears to be sufficient 10 cover not only the $5.1 million
purchase price. but also reasonably anticipated operating costs.
In the original applicant's cost projections it estimated that it
would cost $861.270 to operate the system for one year. Because
Palmer purchased the system within a month after the original
applicant received its construction authorization, it is reasonable
to continue to rely on this estimate. Therefore. it appears that
Palmer had sufficient funds to both acquire and operate the
system for one year.
   10
      Section 6.7 provides "Each applicant agrees that it will not
d irectly or indirectly petition to dismiss or deny or otherwise
object to the DPCRTS application of any ot her Party to th is
Agreement."
   11
      The Commission may refuse to accept a settlement agree•
ment if its provisions violate Commission rules or policies. See
Ninety - Two Point Seven Broadcasting. Inc.. 55 Rad. Reg. 2d
(P&F) 607, 610-611 (1984): Advanced Mobile Phone Service. Inc..
53 Rad. Reg. 2d (P&F) I 127, 1135 ( 1983). Generally. we would
hold that an agreement 10 withhold evidence of a serious viola-
 tion of the Act or the Commission's Rules would be void as
against public policy. However. Section 6.7 of the agreement
does not have such sinister overtones and appears 10 be typical
 of settlement agreements in that it seeks 10 enforce a settling
 party's expectation that no further litigation will be brought by
 the settling parties. Notwithstanding the foregoing, the provision
 at issue did not in fact prevent P&T from filing a petition to
 deny, and as such did not interfere with our ability to obtain
 from interested parties factual information the Commission
 needed to determine whether grant of the application would be
 in the public interest. See 47 U.S.C. §309(d); Faulkner Radio.
 Inc. v. FCC, 557 F . 2d 866, 875 (D.C. Cir. 1977).




                                                                      515
